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      EXHIBIT A
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                                  UNITED STATES TAX COURT
                                     WASHINGTON, DC 20217


THOMAS D. SELGAS & MICHELLE L.                   )
SELGAS,                                          )
                                                 )
                 Petitioner(s),                  )
                                                 )
                 v.                              ) Docket No. 15077-19.

COMMISSIONER OF INTERNAL REVENUE, )
                                  )
            Respondent            )

             ORDER OF DISMISSAL FOR LACK OF JURISDICTION

           On October 11, 2019, respondent filed a Motion To Dismiss for Lack of
    Jurisdiction on the ground that no notice of deficiency or notice of determination
    was issued to petitioners for taxable year 2005, nor has respondent made any other
    determination with respect to taxable year 2005, that would confer jurisdiction on
    this Court. Although the Court directed petitioners to file an objection, if any, to
    respondent's motion to dismiss, petitioners failed to do so.

          Upon due consideration, it is

          ORDERED that respondent's Motion To Dismiss for Lack of Jurisdiction is
    granted, and this case is dismissed for lack ofjurisdiction.


                                        (Signed) Maurice B. Foley
                                               Chief Judge

                                          Maurice B. Foley
                                            Chief Judge



    ENTERED:            MAR022020




                                    SERVED Mar 02 2020
